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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                       Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                  Case No. 23-60507 (PGR)

                                 Debtor.


  NOTICE OF FILING OF FIRST MONTHLY FEE STATEMENT OF PACHULSKI
STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES RENDERED
AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE
   OF UNSECURED CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF
              OGDENSBURG, NEW YORK FOR THE PERIOD
             AUGUST 17, 2023 THROUGH SEPTEMBER 30, 2023

                   PLEASE TAKE NOTICE that in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 250], Pachulski Stang Ziehl & Jones LLP has filed

its First Monthly Fee Statement for Compensation for Services Rendered and Reimbursement of

Expenses as Counsel to the Official Committee of Unsecured Creditors for the Roman Catholic

Diocese of Ogdensburg, New York for the Period August 17, 2023 Through September 30, 2023,

a copy of which is attached hereto and is hereby served upon you.




LA:4862-0997-4674.2 18493.002
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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       November 20, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                                   Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                              Case No. 23-60507 (PGR)

                                    Debtor.


FIRST MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP
 FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
     EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
  CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF OGDENSBURG, NEW
   YORK FOR THE PERIOD AUGUST 17, 2023 THROUGH SEPTEMBER 30, 2023

    Name of Applicant                                       Pachulski Stang Ziehl & Jones LLP

    Authorized to Provide Professional Services             Official Committee of Unsecured Creditors
    to:

    Date of Retention:                                      August 17, 20231

    Period for which compensation and                       8/17/23-9/30/23
    Reimbursement is sought:

    Amount of compensation sought as well as                $181,889.50
    actual, reasonable and necessary:

    Amount of expense reimbursement sought as               $808.82
    actual, reasonable and necessary:



This is a monthly fee statement. It is the first monthly fee statement by Pachulski Stang Ziehl &
Jones LLP.2



1
    The order approving the employment of PSZJ was entered by the Court on October 16, 2023 [Docket No. 193].
2
  Pursuant to the Order Establishing Procedures for Interim Compensation and Reimbursement for Expenses for
Professionals and Members of Official Committees [Docket No. 250], attached as Exhibit A is the following: (i) a
list of the individuals and their respective titles who provided services during the statement period, (ii) their
respective billing rates, (iii) the aggregate hours spent by each individual, (iv) a reasonably detailed breakdown of
the disbursements incurred, and (v) contemporaneously maintained time entries for each individual in increments of
tenths (1/10) of an hour.


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       November 20, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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                        EXHIBIT A
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                                                                 10100 Santa Monica Blvd.
                                                                 13th Floor
                                                                 Los Angeles, CA 90067




Diocese of Ogdensburg O.C.C.                                     September 30, 2023
IDS                                                              Invoice 135073
                                                                 Client 18493.00002




RE: Committee Representation



           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2023

              FEES                                               $181,889.50
              EXPENSES                                               $808.82
              TOTAL CURRENT CHARGES                              $182,698.32

              TOTAL BALANCE DUE                                  $182,698.32
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Client 18493.00002                                                             September 30, 2023


Summary of Services by Professional
ID       Name                                Title                   Rate     Hours           Amount
IAWN     Nasatir, Iain A.W.                  Partner               800.00     15.80        $12,640.00
IDS      Scharf, Ilan D.                     Partner               800.00     26.70        $21,360.00
JIS      Stang, James I.                     Partner               800.00      1.40         $1,120.00
JSP      Pomerantz, Jason S.                 Partner               800.00     39.50        $31,600.00
BMM      Michael, Brittany Mitchell          Counsel               800.00     11.40         $9,120.00
EG       Gray, Erin                          Counsel               800.00     53.40        $42,720.00
KBD      Dine, Karen B.                      Counsel               800.00     71.60        $57,280.00
KLL      LaBrada, Kerri L.                   Paralegal             545.00     11.10         $6,049.50
                                                                   230.90                 $181,889.50
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Summary of Services by Task Code
Task Code       Description                                             Hours                   Amount
AA              Asset Analysis and Recovery                              61.30               $48,963.50
BL              Bankruptcy Litigation                                    31.80               $25,312.50
CA              Case Administration                                      46.90               $36,092.00
CO              Claims Administration and Objections                     23.40               $18,669.00
GC              General Creditors' Committee                             17.10               $13,680.00
IC              Insurance Coverage                                       16.70               $13,360.00
MC              Meetings of and Communications with Creditors             6.60                $5,280.00
ME              Mediation                                                 0.80                  $640.00
RP              PSZJ Retention                                           10.60                $8,123.00
RPO             Other Professional Retention                              4.40                $2,729.50
SL              Stay Litigation                                          11.30                $9,040.00
                                                                        230.90              $181,889.50
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Summary of Expenses
Description                                                                                   Amount
Delivery/Courier Service                                                                       $15.00
Federal Express                                                                                $26.81
Lexis/Nexis- Legal Research                                                                    $21.91
Litigation Support Vendors                                                                    $500.00
Pacer - Court Research                                                                         $41.60
Reproduction Expense - @0.20 per page                                                         $165.90
Reproduction Expense - @0.10 per page                                                          $37.60
                                                                                              $808.82
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                                                                                Hours     Rate          Amount

Asset Analysis and Recovery
08/18/2023 BMM       AA      Prepare report on status of discovery for team.     1.70   800.00       $1,360.00
08/18/2023 JSP       AA      Call with B. Michael regarding discovery            0.50   800.00          $400.00
                             status

08/18/2023 KBD       AA      Analyze first day affidavits regarding structure    1.80   800.00       $1,440.00
                             and financial information relating to Diocese
                             and affiliates.
08/21/2023 BMM       AA      Review pre-petition status of discovery.            1.00   800.00          $800.00
08/21/2023 BMM       AA      Call with E. Gray and K. Dine regarding             1.00   800.00          $800.00
                             discovery overview and other case issues.
08/21/2023 BMM       AA      Review emails regarding discovery from and          0.50   800.00          $400.00
                             to the Diocese.
08/21/2023 BMM       AA      Organize discovery already produced and             0.80   800.00          $640.00
                             confidentiality agreements.
08/21/2023 BMM       AA      Call with J. Pomerantz regarding Ogdensburg         0.90   800.00          $720.00
                             background and discovery.
08/21/2023 BMM       AA      Call with K. Dine regarding discovery matters.      0.20   800.00          $160.00
08/21/2023 EG        AA      Zoom meeting with Karen Dine and Brittany           1.00   800.00          $800.00
                             Michael to discuss document database status
                             and transition issues
08/21/2023 JSP       AA      Call with B. Michael regarding discovery            0.90   800.00          $720.00
                             matters
08/21/2023 JSP       AA      Review discovery chart in preparation for call      0.40   800.00          $320.00
                             with B. Michael
08/21/2023 JSP       AA      Begin analysis - deposit and loan fund              1.60   800.00       $1,280.00
                             motion/interim order
08/21/2023 JSP       AA      Call with K. Dine regarding Deposit & Loan          0.30   800.00          $240.00
                             Fund Motion/Interim Order
08/21/2023 KBD       AA      Telephone call with J. Pomerantz regarding          0.30   800.00          $240.00
                             financing related motions
08/21/2023 KBD       AA      Telephone call with E. Gray and B. Michael          1.00   800.00          $800.00
                             regarding asset information discovery
08/21/2023 KBD       AA      Analyze issues relating to financial                0.40   800.00          $320.00
                             information discovery
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                                                                               Hours     Rate          Amount
08/21/2023 KBD       AA      Call with B. Michael regarding discovery           0.20   800.00          $160.00
                             matters

08/22/2023 BMM       AA      Organized documents produced pre-petition          0.90   800.00          $720.00
                             (with K. Dine in part).

08/22/2023 JSP       AA      Analysis regarding discovery                       0.80   800.00          $640.00
                             requested/pending

08/22/2023 KBD       AA      Call with B. Michael regarding discovery           0.50   800.00          $400.00
08/23/2023 JSP       AA      Further analysis in connection with discovery      0.80   800.00          $640.00
                             propounded, received and outstanding

08/23/2023 JSP       AA      Prepare for call regarding deposit and loan        0.90   800.00          $720.00
                             fund motion
08/24/2023 EG        AA      Draft OCC confidentiality agreement to             1.50   800.00       $1,200.00
                             protect survivor information
08/24/2023 JSP       AA      Notes in preparation for call regarding Deposit    1.40   800.00       $1,120.00
                             and Loan Fund
08/24/2023 JSP       AA      Call with K. Dine regarding Deposit and Loan       0.40   800.00          $320.00
                             Fund
08/24/2023 JSP       AA      Analysis regarding outstanding discovery           0.70   800.00          $560.00
                             issues
08/24/2023 JSP       AA      Correspondence (B. Michael) regarding              0.10   800.00           $80.00
                             discovery
08/24/2023 KBD       AA      Call with Jason S. Pomerantz regarding             0.40   800.00          $320.00
                             deposit and loan fund.
08/25/2023 JSP       AA      Further review of deposit and loan fund            0.60   800.00          $480.00
                             pleadings
08/25/2023 JSP       AA      Correspondence to Debtor's counsel regarding       0.30   800.00          $240.00
                             information/documentation request in
                             connection with deposit and loan fund
                             pleadings
08/25/2023 KBD       AA      Prepare information request to Diocese.            0.20   800.00          $160.00
08/27/2023 KBD       AA      Analyze documents produced by Diocese.             1.60   800.00       $1,280.00
08/28/2023 JSP       AA      Attention to discovery matters                     0.70   800.00          $560.00
08/28/2023 KBD       AA      Prepare case confidentiality agreement.            0.10   800.00           $80.00
08/29/2023 JSP       AA      Notes regarding follow up issues concerning        0.80   800.00          $640.00
                             345 and DLF and DTF motions
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                                                                            Hours     Rate          Amount
08/29/2023 KBD       AA      Prepare case confidentiality agreement.         0.80   800.00          $640.00
08/30/2023 BMM       AA      Review document production.                     0.60   800.00          $480.00
08/30/2023 JSP       AA      Confer with G. Walter regarding DLF and         0.10   800.00           $80.00
                             DTF

08/30/2023 JSP       AA      Correspondence regarding budget inforamtion     0.20   800.00          $160.00
08/30/2023 JSP       AA      Review correspondence regarding discovery       0.40   800.00          $320.00
                             issues

08/31/2023 BMM       AA      Call with K. Dine regarding document review.    0.40   800.00          $320.00
08/31/2023 BMM       AA      Review draft NDA.                               0.50   800.00          $400.00
08/31/2023 JSP       AA      Confer with G. Walter regarding DLF and         0.40   800.00          $320.00
                             DTF

08/31/2023 JSP       AA      Analysis regarding DLF and DTF based on         0.70   800.00          $560.00
                             recent call/correspondence

08/31/2023 KBD       AA      Call with B. Michael regarding document         0.40   800.00          $320.00
                             review.
08/31/2023 KBD       AA      Call with B. Michael regarding document         0.40   800.00          $320.00
                             review
09/01/2023 BMM       AA      Call with J. Pomerantz regarding Ogdensburg     0.20   800.00          $160.00
                             first days and discovery.
09/01/2023 JSP       AA      Call with B. Michael regarding 345 motion       0.20   800.00          $160.00
                             and deposit and loan fund motion
09/04/2023 JSP       AA      Attention to discovery issues                   0.80   800.00          $640.00
09/05/2023 JSP       AA      Analysis regarding deposit and loan fund        1.40   800.00       $1,120.00
                             issues
09/05/2023 KBD       AA      Analyze documents produced by Diocese           2.40   800.00       $1,920.00
                             relating to finance and administration.
09/06/2023 JSP       AA      Prepare for call regarding discovery and        0.40   800.00          $320.00
                             pending motions
09/07/2023 JSP       AA      Analysis regarding discovery, pending and       0.90   800.00          $720.00
                             additional requests
09/08/2023 JSP       AA      Confer with G. Walter regarding accounting      0.10   800.00           $80.00
                             data related to DLF and DTF

09/08/2023 KBD       AA      Prepare document request relating to Deposit    0.30   800.00          $240.00
                             and Loan and Trust.
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                                                                             Hours     Rate          Amount
09/10/2023 JSP       AA      Correspondence to I. Scharf regarding DLF        0.60   800.00          $480.00
                             and DTF

09/11/2023 IAWN AA           Review draft email regarding discovery.          0.10   800.00           $80.00
09/11/2023 JSP       AA      Correspondence regarding further information     0.80   800.00          $640.00
                             for DTF and DLF

09/12/2023 JSP       AA      Attention to discovery issues                    0.90   800.00          $720.00
09/13/2023 IDS       AA      Revise NDA                                       1.80   800.00       $1,440.00
09/13/2023 JSP       AA      Call with K. Dine regarding discovery issues     0.40   800.00          $320.00
09/13/2023 JSP       AA      Correspondence to/from M. Babcock                0.30   800.00          $240.00
                             regarding deposit and loan fund

09/13/2023 JSP       AA      Attention to discovery issues                    0.40   800.00          $320.00
09/13/2023 JSP       AA      Correspondence to/from G. Walter regarding       0.10   800.00           $80.00
                             deposit and loan fund information

09/13/2023 JSP       AA      Review information from G. Walter regarding      0.30   800.00          $240.00
                             deposit and loan fund
09/13/2023 KBD       AA      Call with Jason S. Pomerantz regarding issues    0.40   800.00          $320.00
                             relating to discovery.
09/13/2023 KBD       AA      Analyze issues relating to discovery.            0.30   800.00          $240.00
09/13/2023 KLL       AA      Review correspondence on documents               0.30   545.00          $163.50
                             received for Everlaw.
09/14/2023 EG        AA      Revise confidentiality agreement                 0.50   800.00          $400.00
09/14/2023 JSP       AA      Analysis regarding documents in connection       0.90   800.00          $720.00
                             with deposit and loan fund
09/14/2023 KBD       AA      Revisions to draft NDA.                          0.30   800.00          $240.00
09/15/2023 JSP       AA      Correspondence to G. Walter regarding            0.10   800.00           $80.00
                             deposit and loan fund information
09/15/2023 JSP       AA      Attention to discovery issues                    0.80   800.00          $640.00
09/15/2023 KBD       AA      Analyze information about Diocese structure      1.00   800.00          $800.00
                             and financials.
09/18/2023 JSP       AA      Analysis regarding objection to deposit and      0.90   800.00          $720.00
                             loan fund motion, including additional
                             information needed to evaluate same

09/19/2023 JSP       AA      Attention to discovery issues; begin             1.60   800.00       $1,280.00
                             preparation for call regarding same
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                                                                             Hours     Rate          Amount
09/20/2023 EG        AA      Draft email to Karen Dine re: Everlaw access.    0.10   800.00           $80.00
09/20/2023 JSP       AA      Call with K. Dine regarding deposit and loan     0.20   800.00          $160.00
                             fund objection

09/20/2023 JSP       AA      Call with K. Dine and BRG Group regarding        0.50   800.00          $400.00
                             discovery

09/20/2023 JSP       AA      Prepare for call regarding discovery             0.60   800.00          $480.00
09/20/2023 KBD       AA      Call with Jason Pomerantz regarding              0.20   800.00          $160.00
                             discovery issues.

09/20/2023 KBD       AA      Prepare discovery requests.                      0.70   800.00          $560.00
09/20/2023 KBD       AA      Call with Jason Pomerantz and BRG team           0.50   800.00          $400.00
                             regarding discovery.

09/21/2023 JSP       AA      Attention to discovery issues                    1.70   800.00       $1,360.00
09/22/2023 KBD       AA      Analyze documents produced in discovery          0.80   800.00          $640.00
                             regarding diocese operations.
09/26/2023 JSP       AA      Analysis regarding discovery                     0.70   800.00          $560.00
09/27/2023 JSP       AA      Call with M. Babcock and K. Dine regarding       0.30   800.00          $240.00
                             discovery
09/27/2023 JSP       AA      Prepare for call with M. Babcock and K. Dine     0.80   800.00          $640.00
                             regarding discovery
09/27/2023 KBD       AA      Call w/ M. Babcock and J. Pomerantz              0.30   800.00          $240.00
                             regarding discovery.
09/28/2023 KBD       AA      Analyze insurer pleadings relating to            0.40   800.00          $320.00
                             discovery and mediation.
09/29/2023 JSP       AA      Attention to discovery issues                    0.90   800.00          $720.00
09/29/2023 KBD       AA      Prepare comments to statement regarding          0.30   800.00          $240.00
                             insurer 2004.
09/29/2023 KBD       AA      Analyze Diocese organizational documents.        0.70   800.00          $560.00
                                                                             61.30               $48,963.50

Bankruptcy Litigation
08/18/2023 BMM       BL      Meeting with team regarding responses and        1.10   800.00          $880.00
                             next steps in case and first days.
08/18/2023 IAWN BL           Attend PSZJ team meeting re first day            1.00   800.00          $800.00
                             motions issues
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                                                                            Hours     Rate          Amount
08/18/2023 JSP       BL      Call with PSZJ team regarding responses to      0.70   800.00          $560.00
                             first day motions for party.

08/18/2023 KBD       BL      Call with PSZJ team to strategize regarding     1.10   800.00          $880.00
                             first day and other motions.

08/18/2023 KBD       BL      Analyze motion regarding Deposit and Loan       0.30   800.00          $240.00
                             Fund.

08/22/2023 JSP       BL      Continue review/analysis in connection with     1.60   800.00       $1,280.00
                             Deposit & Loan Fund

08/23/2023 IAWN BL           Analyze declarations of Rev. Kevin O'Brien      0.60   800.00          $480.00
                             and Mark Mashaw
08/24/2023 KBD       BL      Analyze motion relating to deposit and loan     0.80   800.00          $640.00
                             fund.
08/28/2023 EG        BL      Draft email to Karen Dine re: September 5       0.10   800.00           $80.00
                             hearings
08/29/2023 EG        BL      Update docket and WIP in connection with        0.90   800.00          $720.00
                             entry of second interim orders.
08/29/2023 EG        BL      Draft email to PSZJ Team re: entry of second    0.20   800.00          $160.00
                             interim orders and upcoming hearing dates.
08/31/2023 JSP       BL      Attention to 345 motion                         0.40   800.00          $320.00
08/31/2023 KBD       BL      Call with Jason Pomerantz regarding DLF         0.20   800.00          $160.00
                             motion.
09/01/2023 IDS       BL      Detailed review and analysis of first day       1.40   800.00       $1,120.00
                             declaration and DLF/DTF motion.
09/01/2023 JSP       BL      Attention to discovery matters                  0.40   800.00          $320.00
09/01/2023 JSP       BL      Further review of 345 motion                    0.30   800.00          $240.00
09/04/2023 BMM       BL      Review motion to continue bank accounts.        0.20   800.00          $160.00
09/04/2023 JSP       BL      Correspondence regarding bank account           0.20   800.00          $160.00
                             motion
09/05/2023 KBD       BL      Analyze legal issues relating to Committee      0.60   800.00          $480.00
                             standing.

09/12/2023 IDS       BL      Call with Walter regarding Norfolk Parish       0.40   800.00          $320.00
09/12/2023 JSP       BL      Confer with M. Babcock regarding deposit        0.20   800.00          $160.00
                             and loan fund motion

09/15/2023 KBD       BL      Analyze DLF and Bank Account motions and        0.50   800.00          $400.00
                             proposed orders.
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                                                                                 Hours     Rate          Amount
09/20/2023 EG        BL      Email Myra re: uploading orders re: DLF              0.10   800.00           $80.00
                             Motion and Insurance Motion.

09/20/2023 EG        BL      Convert various orders with respect to first         0.50   800.00          $400.00
                             day motions to prepare objections.

09/20/2023 JSP       BL      Review draft deposit and loan fund objection         0.90   800.00          $720.00
09/20/2023 JSP       BL      Review draft response to 345 motion                  0.30   800.00          $240.00
09/20/2023 KBD       BL      Prepare reservation of rights/objections to first    1.80   800.00       $1,440.00
                             day motions.

09/22/2023 KBD       BL      Telephone calls with I. Scharf regarding             0.20   800.00          $160.00
                             strategy relating to motions.

09/22/2023 KBD       BL      Call with Bond Schoeneck, I. Scharf and J.           1.20   800.00          $960.00
                             Pomerantz regarding pending motions.
09/22/2023 KBD       BL      Revisions to objection/reservation to DLF/345        0.40   800.00          $320.00
                             Motions.
09/26/2023 EG        BL      Finalize for filing and service the Committee's      6.50   800.00       $5,200.00
                             response to the Debtor's first and second day
                             motions: Docket 16 (deposit and loan fund);
                             Docket 44 (mediation); Docket 75 (bar date);
                             Docket 17 (insurance policies); Docket 18
                             (automatic stay).

09/26/2023 KBD       BL      Prepare Objections to Diocese motions and            1.80   800.00       $1,440.00
                             related exhibits for filing.
09/26/2023 KBD       BL      Telephone calls with E. Gray coordinating            0.30   800.00          $240.00
                             objections for filing.
09/26/2023 KBD       BL      Telephone call with E. Gray regarding filings        0.40   800.00          $320.00
                             in Diocese of Ogdensburg and next steps.
09/26/2023 KLL       BL      Review limited objection to Debtors motion to        0.20   545.00          $109.00
                             authorize to continue deposit and loan fund.
09/26/2023 KLL       BL      Review response to Debtors motion to refer           0.30   545.00          $163.50
                             certain matters to mediation.
09/27/2023 EG        BL      Review docket and email Karen Dine and I. I.         0.30   800.00          $240.00
                             Scharf with third party objections to Debtor's
                             first and second day motions: Docket 16
                             (deposit and loan fund); Docket 44
                             (mediation); Docket 75 (bar date); Docket 17
                             (insurance policies); Docket 18 (automatic
                             stay).
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                                                                                Hours     Rate          Amount
09/28/2023 IDS       BL      Call w/K. Dine and G. Walter regarding              0.30   800.00          $240.00
                             outstanding motions.

09/28/2023 IDS       BL      Call w/K. Dine and G. Walter regarding              0.30   800.00          $240.00
                             outstanding motions.

09/28/2023 KBD       BL      Call with I. Scharf and G. Walter regarding         0.30   800.00          $240.00
                             outstanding motions.

09/28/2023 KBD       BL      Call with I. Scharf regarding outstanding           0.10   800.00           $80.00
                             motions.

09/28/2023 KBD       BL      Analyze Debtor proposed changes to orders           0.40   800.00          $320.00
                             relating to DLF, insurance and stay.
09/28/2023 KBD       BL      Analyze Debtor response relating to 345             0.30   800.00          $240.00
                             Motion.
09/29/2023 EG        BL      Draft, edit and prepare for filing the statement    1.70   800.00       $1,360.00
                             of the Official Committee of Unsecured
                             Creditors re: the Moving Insurer's 2004
                             Motion [Docket No. 138}
                                                                                31.80               $25,312.50

Case Administration
08/18/2023 EG        CA      Zoom team meeting to discuss roles and              0.70   800.00          $560.00
                             responsibilities in the case
08/18/2023 JIS       CA      Organizational call with PSZJ team, including       1.00   800.00          $800.00
                             review of first day motions.
08/18/2023 KBD       CA      Analyze interim order regarding sealing             0.20   800.00          $160.00
                             documents.
08/21/2023 BMM       CA      Email communications with team regarding            0.70   800.00          $560.00
                             case administration.
08/21/2023 EG        CA      Prepare notice of appearance for PSZJ               0.30   800.00          $240.00
08/21/2023 EG        CA      Prepare initial work in progress (WIP) list and     1.50   800.00       $1,200.00
                             contact list
08/21/2023 EG        CA      Compile work in progress list and contact list      1.40   800.00       $1,120.00
08/21/2023 EG        CA      prepare WIP list, email clusters and contact        1.80   800.00       $1,440.00
                             lists for first meeting and case
08/21/2023 KBD       CA      Analyze correspondence among PSZJ and               0.10   800.00           $80.00
                             Bond, Schoeneck & King, PLLC regarding
                             ongoing case issues.
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                                                                                 Hours     Rate          Amount
08/22/2023 EG        CA      review docket to prepare work in progress list       5.50   800.00       $4,400.00
                             (1.50); update work in progress list based on
                             docket review (1.50); calendar WIP list items
                             (.50); listen to audio files of second day
                             hearings to prepare work in progress list (.70);
                             update work in progress list based on audio
                             file review of second day hearings (1.0);
                             update contact list (.30)
08/22/2023 KBD       CA      Review correspondence regarding status               0.10   800.00           $80.00
                             between PSZJ and Bond, Schoeneck & King,
                             PLLC

08/22/2023 KLL       CA      Pull material for E. Gray for further review.        0.30   545.00          $163.50
08/22/2023 KLL       CA      Review information for upcoming 341                  0.20   545.00          $109.00
                             meeting for K. Dine.

08/22/2023 KLL       CA      Prepare J. Stang pro hac motion.                     1.10   545.00          $599.50
08/22/2023 KLL       CA      Update critical dates memo.                          0.30   545.00          $163.50
08/23/2023 EG        CA      Finalize WIP list (2.30); finalize critical dates    2.80   800.00       $2,240.00
                             list (.50)

08/23/2023 KLL       CA      Update critical dates memo.                          0.30   545.00          $163.50
08/23/2023 KLL       CA      Correspond on orders for certificate of good         0.40   545.00          $218.00
                             standing for J. Stang and K. Dine pro hac vice
                             motions.
08/24/2023 EG        CA      update WIP and critical dates listings               0.50   800.00          $400.00
08/24/2023 IAWN CA           Telephone call with team re WIP                      0.80   800.00          $640.00
08/24/2023 IAWN CA           Review WIP list and exchange emails with             0.20   800.00          $160.00
                             Erin Gray re same
08/25/2023 EG        CA      Update case calendar.                                0.10   800.00           $80.00
08/25/2023 KLL       CA      Assist with information on admission to              0.20   545.00          $109.00
                             NDNY.

08/28/2023 EG        CA      Update work in progress list.                        0.90   800.00          $720.00
08/28/2023 EG        CA      Update case calendar.                                0.10   800.00           $80.00
08/28/2023 KBD       CA      Prepare and review correspondence w/counsel          0.10   800.00           $80.00
                             for Diocese on ongoing case matters.

08/28/2023 KLL       CA      Update critical dates memo.                          0.30   545.00          $163.50
08/29/2023 KBD       CA      Review orders entered in case.                       0.20   800.00          $160.00
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                                                                                 Hours     Rate          Amount
08/29/2023 KLL       CA      Receive and update pro hac for J. Stang with         0.20   545.00          $109.00
                             certificate of good standing.

08/30/2023 KBD       CA      Review correspondence with Diocese counsel.          0.10   800.00           $80.00
09/01/2023 KLL       CA      Review current filings and update critical           0.20   545.00          $109.00
                             dates memo.

09/05/2023 EG        CA      Review and revise application to admit James         0.30   800.00          $240.00
                             J. Stang pro hac vice

09/05/2023 EG        CA      Update work in progress list.                        0.30   800.00          $240.00
09/06/2023 EG        CA      Update work-in-progess list in preparation for       0.50   800.00          $400.00
                             PSZJ team WIP call at 530 pm ET

09/06/2023 EG        CA      PSZJ team WIP call (K. Dine, I. Scharf, I.           1.00   800.00          $800.00
                             Nasatir J. Pomerantz, E. Gray)
09/06/2023 IDS       CA      Call with James I. Stang regarding staffing          0.30   800.00          $240.00
                             and workflow
09/06/2023 IDS       CA      Email to PSZJ team regarding tasks and               0.30   800.00          $240.00
                             workflow
09/06/2023 JSP       CA      Participate on call with I. Scharf, K. Dine and      1.00   800.00          $800.00
                             E. Gray regarding work in progress, including
                             discovery, pending motions and first meeting
                             of creditors
09/06/2023 KBD       CA      Strategize regarding outstanding issues and          1.00   800.00          $800.00
                             next steps with PSZJ team
09/07/2023 EG        CA      Update WIP.                                          0.40   800.00          $320.00
09/07/2023 EG        CA      Update calendar.                                     0.20   800.00          $160.00
09/08/2023 JSP       CA      Review correspondence from I. I. Scharf              0.30   800.00          $240.00
                             regarding case issues
09/13/2023 EG        CA      Revise work in progress list                         0.40   800.00          $320.00
09/13/2023 EG        CA      Update WIP List (including contacts, calendar        1.50   800.00       $1,200.00
                             and documents) in advance of 9/14 PSZJ
                             Team meeting

09/13/2023 EG        CA      Daft amended declaration of Jim J. Stang in          0.80   800.00          $640.00
                             connection with pro hac vice application (.40);
                             review local rules re: same (.20); draft email to
                             Myra Kulick re same (.10); draft email to J.
                             Stang re same (.10)
09/14/2023 EG        CA      Weekly Professionals WIP Call                        0.80   800.00          $640.00
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                                                                               Hours     Rate          Amount
09/14/2023 EG        CA      update work in progress list for professionals     0.50   800.00          $400.00
                             call

09/14/2023 JSP       CA      Call with PSZJ team regarding case issues          0.80   800.00          $640.00
09/14/2023 KBD       CA      Participate in PSZJ team meeting regarding         0.80   800.00          $640.00
                             case next steps relating to outstanding Diocese
                             motions.
09/14/2023 KLL       CA      Prepare notice of appearance re adversary          0.50   545.00          $272.50
                             matter.
09/14/2023 KLL       CA      Discussion with professionals on case matters      0.80   545.00          $436.00
                             and first days.
09/15/2023 EG        CA      Weekly call with state court counsel               0.50   800.00          $400.00
09/17/2023 KBD       CA      Revise proposed confidentiality agreement.         0.60   800.00          $480.00
09/18/2023 KLL       CA      Review correspondence and log onto Everlaw         0.30   545.00          $163.50
                             for uploading docuemtns received.
09/19/2023 KLL       CA      Revise notice of appearance to adversary case.     0.30   545.00          $163.50
09/20/2023 EG        CA      Update work in progress list.                      0.30   800.00          $240.00
09/20/2023 EG        CA      Follow up on Jim Stang's pro hac vice              0.50   800.00          $400.00
                             application
09/20/2023 KBD       CA      Prepare correspondence to counsel for the          0.30   800.00          $240.00
                             Debtor on outstanding case issues.
09/20/2023 KBD       CA      Revisions to draft confidentiality agreement.      0.20   800.00          $160.00
09/21/2023 EG        CA      Update work in progress list for weekly team       1.50   800.00       $1,200.00
                             call.

09/21/2023 EG        CA      Weekly work in progress call with Karen Dine       0.60   800.00          $480.00
                             and I. Scharf.

09/21/2023 KBD       CA      Participate in PSZJ call regarding discovery       0.60   800.00          $480.00
                             and next steps.

09/21/2023 KLL       CA      Finalize ECF submission for J. Stang per pro       0.20   545.00          $109.00
                             hac procedures.

09/22/2023 IDS       CA      Call w/ Bond Schoeneck, K. Dine and J.             1.20   800.00          $960.00
                             Pomerantz.
09/22/2023 JSP       CA      Call with S. Donato, G. Walter, S. Temes, C.       1.20   800.00          $960.00
                             Sullivan, I. Scharf and K. Dine regarding
                             various matters, including bar date, DLF/DTF,
                             mediation
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                                                                               Hours     Rate          Amount
09/28/2023 EG        CA      Weekly work in progress call with Karen Dine       0.50   800.00          $400.00
                             and I. I. Scharf, Jason Pomerantz and I.
                             Nasatir.
09/28/2023 EG        CA      Update WIP for weekly work in progress call.       1.50   800.00       $1,200.00
09/28/2023 IAWN CA           Telephone call with team re WIP                    0.50   800.00          $400.00
09/28/2023 JSP       CA      Participate with PSZJ team on call regarding       0.50   800.00          $400.00
                             case status, including bar date, DLF/DTF,
                             discovery
09/28/2023 KBD       CA      Call with PSZJ team regarding outstanding          0.50   800.00          $400.00
                             issues and next steps.

                                                                               46.90               $36,092.00

Claims Administration and Objections
08/18/2023 KBD       CO      Analyze bar date motion.                           0.40   800.00          $320.00
08/19/2023 KBD       CO      Review notice of hearing re bar date and           0.10   800.00           $80.00
                             related correspondence

08/21/2023 KBD       CO      Revise draft of bar date order                     1.10   800.00          $880.00
08/22/2023 KBD       CO      Prepare comments to bar date documents             1.70   800.00       $1,360.00
08/24/2023 KBD       CO      Prepare comments to Bar Date Order.                0.60   800.00          $480.00
08/26/2023 KBD       CO      Analyze pleadings regarding claim objections.      0.40   800.00          $320.00
08/27/2023 KBD       CO      Prepare comments to Bar Date documents.            0.40   800.00          $320.00
08/28/2023 KBD       CO      Prepare comments to bar date order and             0.30   800.00          $240.00
                             related documents.

09/14/2023 IDS       CO      Revise Bar Date Order, Notice and Form             1.80   800.00       $1,440.00
09/14/2023 KBD       CO      Revisions to claims bar date papers.               0.30   800.00          $240.00
09/17/2023 KBD       CO      Revise bar date documents.                         0.20   800.00          $160.00
09/20/2023 KBD       CO      Call with I. Scharf regarding bar date matters.    0.10   800.00           $80.00
09/20/2023 KBD       CO      Revisions to bar date documents.                   0.20   800.00          $160.00
09/20/2023 KBD       CO      Prepare objection relating to bar date.            0.70   800.00          $560.00
09/21/2023 KBD       CO      Prepare objection to bar date.                     0.50   800.00          $400.00
09/21/2023 KBD       CO      Analyze legal issues relating to bar date.         1.70   800.00       $1,360.00
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                                                                              Hours     Rate          Amount
09/22/2023 KBD       CO      Analyze legal issues relating to bar date         0.60   800.00          $480.00
                             motion.

09/23/2023 KBD       CO      Prepare objection to bar date motion.             3.20   800.00       $2,560.00
09/23/2023 KBD       CO      Revise draft schedules to bar date order.         0.50   800.00          $400.00
09/26/2023 KLL       CO      Review limited objection to Debtors bar date      0.20   545.00          $109.00
                             motion.

09/27/2023 KBD       CO      Analyze pleadings filed by insurers regarding     0.80   800.00          $640.00
                             bar date.

09/27/2023 KBD       CO      Prepare reply to insurer bar date objections.     2.20   800.00       $1,760.00
09/28/2023 KBD       CO      Analyze legal issues regarding bar date raised    1.70   800.00       $1,360.00
                             by insurers.

09/28/2023 KBD       CO      Prepare draft reply regarding bar date issues.    2.40   800.00       $1,920.00
09/29/2023 KBD       CO      Revisions to Reply to insurers on Bar Date.       0.80   800.00          $640.00
09/29/2023 KBD       CO      Coordinate filing and transmission of Reply.      0.40   800.00          $320.00
09/29/2023 KBD       CO      Call with E. Gray regarding filing.               0.10   800.00           $80.00
                                                                              23.40               $18,669.00

General Creditors' Committee
08/18/2023 KBD       GC      Prepare and analyze correspondence among          0.30   800.00          $240.00
                             PSZJ, SCC and Committee regarding ongoing
                             case issues.
08/22/2023 KBD       GC      Call with B. Michael regarding SCC issue          0.10   800.00           $80.00
08/22/2023 KBD       GC      Revise propose agenda for Committee call          0.30   800.00          $240.00
08/22/2023 KBD       GC      Call with J. Stang regarding Committee            0.10   800.00           $80.00
                             meeting
08/23/2023 KBD       GC      Prepare for Committee meeting.                    0.70   800.00          $560.00
08/23/2023 KBD       GC      Draft committee by-laws.                          0.30   800.00          $240.00
08/23/2023 KBD       GC      Prepare correspondence for Committee on           0.10   800.00           $80.00
                             ongoing case issues.
08/24/2023 KBD       GC      Attention to preparation of NDA for               0.20   800.00          $160.00
                             Committee.

08/24/2023 KBD       GC      Participate in meeting of Committee and SCC       1.70   800.00       $1,360.00
                             regarding ongoing case issues.
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                                                                             Hours     Rate          Amount
08/24/2023 KBD       GC      Prepare minutes of Committee meeting.            0.20   800.00          $160.00
08/28/2023 EG        GC      Draft email to Kari Kozak re: committee          0.10   800.00           $80.00
                             communcations

08/28/2023 EG        GC      Draft email to Chuck Curts re: email clusters    0.10   800.00           $80.00
                             for committee communications

08/28/2023 IAWN GC           Review Erin Gray introduction to Committee       0.10   800.00           $80.00
08/28/2023 KBD       GC      Coordinate matters for next meeting of           0.20   800.00          $160.00
                             Committee with E. Gray (partial).

08/29/2023 IAWN GC           Review K. Dine summary to committee of           0.10   800.00           $80.00
                             status

08/29/2023 KBD       GC      Draft correspondence to Committee and SCC        0.10   800.00           $80.00
                             regarding ongoing case matters.
08/29/2023 KBD       GC      Coordinate matters for next meeting of           0.20   800.00          $160.00
                             Committee with E. Gray (partial).
09/06/2023 IDS       GC      Email to Committee regarding standing            0.20   800.00          $160.00
                             meeting
09/06/2023 IDS       GC      Email to SCC regarding standing counsel call     0.20   800.00          $160.00
09/07/2023 EG        GC      Compile documents to send to Committee for       0.30   800.00          $240.00
                             Monday's OCC meeting
09/08/2023 KBD       GC      Review correspondence with Committee and         0.10   800.00           $80.00
                             SCC.
09/11/2023 EG        GC      Attend weekly meeting of the Official            1.50   800.00       $1,200.00
                             Committee of Unsecured Creditors
09/11/2023 IDS       GC      Prepare for committee meeting                    0.60   800.00          $480.00
09/11/2023 IDS       GC      Attend committee meeting                         1.50   800.00       $1,200.00
09/11/2023 KBD       GC      Prepare for meeting of Committee and SCC         0.40   800.00          $320.00
                             regarding ongoing case issues.
09/11/2023 KBD       GC      Participate in meeting of Committee and SCC      1.50   800.00       $1,200.00
                             regarding ongoing case issues.
09/14/2023 IDS       GC      Committee professionals' meeting regarding       0.80   800.00          $640.00
                             case

09/15/2023 IDS       GC      Draft agenda for Committee meeting               0.60   800.00          $480.00
09/15/2023 IDS       GC      Review WIP list                                  0.40   800.00          $320.00
09/18/2023 EG        GC      Attend weekly committee call                     1.40   800.00       $1,120.00
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                                                                             Hours     Rate          Amount
09/20/2023 EG        GC      Edit minutes of 9/18/23 committee meeting.       0.50   800.00          $400.00
09/20/2023 KBD       GC      Review minutes of committee meeting.             0.10   800.00           $80.00
09/22/2023 KBD       GC      Call with SCC regarding ongoing case issues.     0.70   800.00          $560.00
09/29/2023 IDS       GC      Participate in call w/SCC and PSZJ on            0.70   800.00          $560.00
                             ongoing matters.

09/29/2023 KBD       GC      Participate in call with SCC and PSZJ on         0.70   800.00          $560.00
                             ongoing matters.

                                                                             17.10               $13,680.00

Insurance Coverage
08/18/2023 KBD       IC      Call with counsel for Arrowood and J. Bair       0.20   800.00          $160.00
                             regarding 2004 motion.

08/18/2023 KBD       IC      Attention to notice of adjournment of hearing    0.20   800.00          $160.00
                             and related correspondence.

08/23/2023 IAWN IC           Review coverage chart, policies and coverage     3.40   800.00       $2,720.00
                             letters produced by Diocese of Ogdensburg
08/23/2023 IAWN IC           Review first day motion for insurance            0.80   800.00          $640.00
08/23/2023 IAWN IC           Review first day motion re structure and PSIP    0.80   800.00          $640.00
08/24/2023 IAWN IC           Review file room re policies and inventory       1.50   800.00       $1,200.00
                             same
08/25/2023 EG        IC      Review documents in Everlaw to compile           0.50   800.00          $400.00
                             insurance and PSIP documents for I. Nasatir's
                             review in connection with the Debtor's
                             Insurance Motion and Mediation Motion in
                             insurance adversary
08/25/2023 IAWN IC           Review Everlaw documents and motions re          2.50   800.00       $2,000.00
                             PSIP
08/26/2023 KBD       IC      Review derivative standing motion for filing.    0.30   800.00          $240.00
09/01/2023 IAWN IC           Review Century 2004 in Oakland re statics in     0.30   800.00          $240.00
                             Diocese of Ogdensburg

09/01/2023 IDS       IC      Review first day declaration and insurance       1.80   800.00       $1,440.00
                             motion

09/11/2023 IAWN IC           Review insurance motion and declarations in      0.90   800.00          $720.00
                             support

09/11/2023 IAWN IC           Review Everlaw insurance documents               0.20   800.00          $160.00
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                                                                             Hours     Rate          Amount
09/11/2023 IAWN IC           Analyze and draft lengthy recommendation re      1.20   800.00          $960.00
                             insurance motion to Diocese of Ogdensburg
                             team
09/14/2023 EG        IC      Research re: insurance adversary and draft       0.50   800.00          $400.00
                             email re: same
09/20/2023 IAWN IC           Review insurance motion order and send           0.80   800.00          $640.00
                             revised language to I. Scharf and E. Gray
09/27/2023 KBD       IC      Analyze pleadings filed by insurers regarding    0.30   800.00          $240.00
                             discovery.
09/28/2023 EG        IC      Draft Motion to Intervene in insurance           0.50   800.00          $400.00
                             adversary.
                                                                             16.70               $13,360.00

Meetings of and Communications with Creditors
08/22/2023 JSP       MC      Correspondence regarding meeting of              0.10   800.00           $80.00
                             creditors
08/23/2023 KBD       MC      Participate in telephonic 341 meeting.           0.10   800.00           $80.00
09/07/2023 EG        MC      Draft email to OUST re: 341(a).                  0.10   800.00           $80.00
09/11/2023 IDS       MC      Prepare for 341 meeting                          2.80   800.00       $2,240.00
09/11/2023 IDS       MC      Attend 341 meeting                               3.50   800.00       $2,800.00
                                                                              6.60                $5,280.00

Mediation
08/18/2023 KBD       ME      Call with PSZJ team regarding mediation          0.20   800.00          $160.00
                             issues.
08/21/2023 JIS       ME      Call to B. Michael regarding mediator issues.    0.10   800.00           $80.00
08/21/2023 JIS       ME      Call to mediator candidate regarding             0.30   800.00          $240.00
                             availability for case.

09/26/2023 KBD       ME      Analyze response to mediation motion.            0.20   800.00          $160.00
                                                                              0.80                   $640.00

PSZJ Retention
08/25/2023 KLL       RP      Prepare PSZJ retention application.              1.40   545.00          $763.00
09/05/2023 EG        RP      Review and revise application to employ          0.70   800.00          $560.00
                             PSZJ.
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                                                                            Hours     Rate          Amount
09/05/2023 IDS       RP      Review and respond to email from Gray           0.40   800.00          $320.00
                             regarding PSZJ retention application

09/05/2023 KBD       RP      Analyze issues relating to PSZJ employment      0.10   800.00           $80.00
                             application.

09/05/2023 KBD       RP      Telephone call with E. Gray regarding PSZJ      0.10   800.00           $80.00
                             employment application.

09/06/2023 EG        RP      Draft email to J. Stang and I. Scharf with      0.30   800.00          $240.00
                             follow up questions regarding application to
                             employ PSZJ
09/07/2023 EG        RP      Revise application to employ PSZJ               0.80   800.00          $640.00
09/13/2023 EG        RP      Compile parties for conflicts checks for        1.80   800.00       $1,440.00
                             retention of professionals
09/14/2023 EG        RP      Revise retention application for PSZJ           1.00   800.00          $800.00
09/14/2023 IDS       RP      Review and revise conflicts list                1.10   800.00          $880.00
09/14/2023 IDS       RP      Review and revise PSZJ retention application    0.90   800.00          $720.00
09/15/2023 IDS       RP      Finalize PSZJ fee application                   1.50   800.00       $1,200.00
09/19/2023 EG        RP      Finalize and file PSZJ's employment             0.50   800.00          $400.00
                             application.
                                                                            10.60                $8,123.00

Other Professional Retention
08/21/2023 KLL       RPO     Review and prepare summary re employment        1.30   545.00          $708.50
                             applications Diocese retained.
09/13/2023 EG        RPO     draft email to K. LaBrada re:application to     0.10   800.00           $80.00
                             retain BRG

09/19/2023 KLL       RPO     Prepare BRG retention application.              1.80   545.00          $981.00
09/20/2023 EG        RPO     Draft email to Timothy Burns and Jesse Bair     0.10   800.00           $80.00
                             re: employment.

09/20/2023 EG        RPO     Draft email to Jesse Bair re: retention         0.10   800.00           $80.00
                             application

09/21/2023 EG        RPO     Edit application to retain BRG.                 1.00   800.00          $800.00
                                                                             4.40                $2,729.50
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                                                                               Hours     Rate          Amount

Stay Litigation
08/19/2023 KBD       SL      Research and analyze legal issues relating to      0.60   800.00          $480.00
                             motion for stay

08/19/2023 KBD       SL      Prepare objection to motion regarding stay         0.80   800.00          $640.00
08/21/2023 KBD       SL      Research and analyze legal issues regarding        2.20   800.00       $1,760.00
                             the automatic stay

08/21/2023 KBD       SL      Draft objection to Debtor motion regarding the     1.40   800.00       $1,120.00
                             automatic stay

08/22/2023 BMM       SL      Communication with debtor's counsel                0.30   800.00          $240.00
                             regarding plaintiff discovery issue (w/ K. Dine
                             in part).
08/23/2023 KBD       SL      Analyze issues relating to motion for stay.        0.60   800.00          $480.00
08/24/2023 KBD       SL      Analyze issues relating to Diocese stay            0.60   800.00          $480.00
                             motion.
09/01/2023 BMM       SL      Review stay motion                                 0.40   800.00          $320.00
09/13/2023 EG        SL      Review and comment on opposition to the            0.40   800.00          $320.00
                             Debtor's motion for "confirmation" of
                             automatic stay

09/13/2023 IDS       SL      Begin review and revisions of objection to         0.80   800.00          $640.00
                             stay motion
09/13/2023 KBD       SL      Prepare objection to motion relating to            1.80   800.00       $1,440.00
                             confirmation of the stay.
09/15/2023 IDS       SL      Continue revisions to stay motion                  1.10   800.00          $880.00
09/22/2023 KBD       SL      Revisions to objection to stay motion and          0.30   800.00          $240.00
                             order.
                                                                               11.30                $9,040.00

   TOTAL SERVICES FOR THIS MATTER:                                                           $181,889.50
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Expenses
08/21/2023 LN        18493.00002 Lexis Charges for 08-21-23                      21.91
08/22/2023 RE2       SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
08/31/2023 OS        EVERLAW, INC.-91980. - Litigation Support Vendors          250.00
09/27/2023 DC        Mobile Parcel Carrier, Inv. 243700                          15.00
09/27/2023 RE2       SCAN/COPY ( 32 @0.10 PER PG)                                 3.20
09/27/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
09/27/2023 RE2       SCAN/COPY ( 196 @0.10 PER PG)                               19.60
09/27/2023 RE2       SCAN/COPY ( 32 @0.10 PER PG)                                 3.20
09/28/2023 RE        ( 1432 @0.10 PER PG)                                       143.20
09/29/2023 FE        18493.00002 FedEx Charges for 09-29-23                      26.81
09/29/2023 RE        ( 40 @0.10 PER PG)                                           4.00
09/29/2023 RE        ( 43 @0.10 PER PG)                                           4.30
09/29/2023 RE        ( 144 @0.10 PER PG)                                         14.40
09/29/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
09/29/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
09/29/2023 RE2       SCAN/COPY ( 19 @0.10 PER PG)                                 1.90
09/29/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
09/29/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
09/29/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                 1.80
09/30/2023 OS        Litigation Support Vendors. Everlaw, Inv. 93088            250.00
09/30/2023 PAC       Pacer - Court Research                                      41.60

   Total Expenses for this Matter                                           $808.82
